                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW MEXICO

In re: Nora C. Armijo,                                                            Case No. 22-10550-t7


       Debtor(s).


              ENTRY OF APPEARANCE AND REQUEST FOR NOTICE


       Attorney Leslie D. Maxwell of Maxwell & Gilchrist, P.C. enters an appearance under

FED. R. BANKR. P. 9010(b) in the above captioned bankruptcy case on behalf of Debtor(s).

Attorney requests that the clerk of the Bankruptcy Court add Maxwell & Gilchrist to the

mailing matrix in this bankruptcy case and provide electronic notice of all documents filed in

the bankruptcy case.


                                                      Respectfully submitted by:
                                                      MAXWELL & GILCHRIST, P.C.
                                                                    Digitally signed by Leslie
                                                                    D. Maxwell
                                                                    Date: 2022.09.21
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                                                      Leslie D. Maxwell
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                                                      Albuquerque, N.M. 87109
                                                      Telephone:
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                                                      Attorney for Debtor(s)

Under NM LBR 9036-1 and Fed. R. Civ. P. 5(b)(2)(E) and 5(b)(3), I certify that I served the
foregoing document on Monday, September 19, 2022, via the notice transmission facilities of
the case management and electronic filing system of the Bankruptcy Court, on all parties
entitled to receive electronic filings.
               Digitally signed by
               Leslie D. Maxwell
               Date: 2022.09.21
               13:30:30 -06'00'
Leslie D. Maxwell




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